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                                                              CIVIL COVER SHEET
JS-44 (Rev. 6/17 DC)
 I. (a) PLAINTIFFS                                                              DEFENDANTS
 Toxin Free USA                                                                The J. M. Smucker Company and Ainsworth Pet Nutrition,
                                                                               LLC


 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________           COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                       NOTE IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                       ATTORNEYS (IF KNOWN)

 Kim E. Richman, Richman Law Group, 8 West 126th                               Kevin B. Goldstein, Winston & Strawn, 35 W. Wacker Dr.
 Street, (718) 705-4579                                                        Chicago, IL 60601, (312) 558-5869
                                                                               Ronald Y. Rothstein, Winston & Strawn, 35 W. Wacker Dr.
                                                                               Chicago, IL 60601, (312) 558-7464
                                                                               Sean H Suber Winston & Strawn 35 W Wacker Dr Chicago
 II. BASIS OF JURISDICTION                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                  PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
                                                                                          PTF    DFT                                                       PTF           DFT
       1 U.S. Government         3 Federal Question
         Plaintiff                (U.S. Government Not a Party)    Citizen of this State             1         1    Incorporated or Principal Place            4           4
                                                                                                                    of Business in This State
       2 U.S. Government         4 Diversity                       Citizen of Another State          2         2                                               5           5
                                                                                                                    Incorporated and Principal Place
         Defendant                 (Indicate Citizenship of
                                                                                                                    of Business in Another State
                                   Parties in item III)            Citizen or Subject of a           3         3
                                                                   Foreign Country                                  Foreign Nation                             6           6

                                            IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
       A. Antitrust            B. Personal Injury/                            C. Administrative Agency                                D. Temporary Restraining
                                  Malpractice                                    Review                                                  Order/Preliminary
       410 Antitrust                                                                                                                     Injunction
                               310 Airplane                                   151 Medicare Act
                               315 Airplane Product Liability                                                                   Any nature of suit from any category
                               320 Assault, Libel & Slander              Social Security
                                                                                                                                may be selected for this category of
                                                                              861 HIA (1395ff)
                               330 Federal Employers Liability                                                                  case assignment.
                                                                              862 Black Lung (923)
                               340 Marine
                                                                              863 DIWC/DIWW (405(g))                            *(If Antitrust, then A governs)*
                               345 Marine Product Liability
                                                                              864 SSID Title XVI
                               350 Motor Vehicle
                                                                              865 RSI (405(g))
                               355 Motor Vehicle Product Liability
                                                                         Other Statutes
                               360 Other Personal Injury
                                                                              891 Agricultural Acts
                               362 Medical Malpractice
                                                                              893 Environmental Matters
                               365 Product Liability
                                                                              890 Other Statutory Actions (If
                               367 Health Care/Pharmaceutical
                                                                                  Administrative Agency is
                                   Personal Injury Product Liability
                                                                                  Involved)
                               368 Asbestos Product Liability


       E. General Civil (Other)                               OR                    F. Pro Se General Civil
 Real Property                         Bankruptcy                                   Federal Tax Suits                                  462 Naturalization
      210 Land Condemnation                422 Appeal 27 USC 158                        870 Taxes (US plaintiff or                         Application
      220 Foreclosure                      423 Withdrawal 28 USC 157                         defendant)                                465 Other Immigration
      230 Rent, Lease & Ejectment                                                       871 IRS-Third Party 26 USC                         Actions
      240 Torts to Land                Prisoner Petitions                                    7609                                      470 Racketeer Influenced
      245 Tort Product Liability            535 Death Penalty
                                                                                                                                           & Corrupt Organization
                                            540 Mandamus & Other                    Forfeiture/Penalty
      290 All Other Real Property                                                                                                      480 Consumer Credit
                                            550 Civil Rights                             625 Drug Related Seizure of
                                                                                             Property 21 USC 881                       490 Cable/Satellite TV
 Personal Property                          555 Prison Conditions
                                                                                         690 Other                                     850 Securities/Commodities/
      370 Other Fraud                       560 Civil Detainee – Conditions
                                                                                                                                           Exchange
      371 Truth in Lending                      of Confinement
                                                                                    Other Statutes                                     896 Arbitration
      380 Other Personal Property
                                                                                        375 False Claims Act                           899 Administrative Procedure
          Damage                       Property Rights
                                           820 Copyrights                               376 Qui Tam (31 USC                                Act/Review or Appeal of
      385 Property Damage
                                           830 Patent                                       3729(a))                                       Agency Decision
          Product Liability
                                           835 Patent – Abbreviated New                 400 State Reapportionment                      950 Constitutionality of State
                                               Drug Application                         430 Banks & Banking                                Statutes
                                           840 Trademark                                450 Commerce/ICC                               890 Other Statutory Actions
                                                                                            Rates/etc.                                     (if not administrative agency
                                                                                        460 Deportation                                    review or Privacy Act)
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       G. Habeas Corpus/                              H. Employment                                 I. FOIA/Privacy Act                           J. Student Loan
          2255                                        Discrimination
       530 Habeas Corpus – General                    442 Civil Rights – Employment                 895 Freedom of Information Act                152 Recovery of Defaulted
       510 Motion/Vacate Sentence                         (criteria: race, gender/sex,              890 Other Statutory Actions                       Student Loan
       463 Habeas Corpus – Alien                          national origin,                              (if Privacy Act)                              (excluding veterans)
           Detainee                                       discrimination, disability, age,
                                                          religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

       K. Labor/ERISA                                 L. Other Civil Rights                         M. Contract                                   N. Three-Judge
          (non-employment)                               (non-employment)                                                                         Court
                                                                                                    110 Insurance
       710 Fair Labor Standards Act                   441 Voting (if not Voting Rights              120 Marine                                    441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                          Act)                                      130 Miller Act                                    (if Voting Rights Act)
       740 Labor Railway Act                          443 Housing/Accommodations                    140 Negotiable Instrument
       751 Family and Medical                         440 Other Civil Rights                        150 Recovery of Overpayment
           Leave Act                                  445 Americans w/Disabilities –                    & Enforcement of
       790 Other Labor Litigation                         Employment                                    Judgment
       791 Empl. Ret. Inc. Security Act               446 Americans w/Disabilities –                153 Recovery of Overpayment
                                                          Other                                         of Veteran’s Benefits
                                                      448 Education                                 160 Stockholder’s Suits
                                                                                                    190 Other Contracts
                                                                                                    195 Contract Product Liability
                                                                                                    196 Franchise


 V. ORIGIN
      1 Original         2 Removed           3 Remanded            4 Reinstated        5 Transferred           6 Multi-district         7 Appeal to           8 Multi-district
      Proceeding           from State        from Appellate        or Reopened         from another            Litigation               District Judge        Litigation –
                           Court             Court                                     district (specify)                               from Mag.             Direct File
                                                                                                                                        Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   28 U.S.C 28 § 1332 (Diversity/CAFA); 28 U.S.C. § 1446 (Removal)

 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $                                         Check YES only if demanded in complaint
      COMPLAINT                              ACTION UNDER F R C P 23
                                                                                     JURY DEMAND:                                 YES     ✘         NO

 VIII. RELATED CASE(S)
       IF ANY
                                             (See instruction)
                                                                                 YES                    NO      ✘                 If yes, please complete related case form


              4/17/2020
 DATE: _________________________                                                                   /s/ Kevin B. Goldstein
                                                  SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.       CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

           VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
